  Case: 1:17-md-02804-DAP Doc #: 3085 Filed: 01/17/20 1 of 3. PageID #: 480918




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                                   MDL No. 2804

THIS DOCUMENT RELATES TO:                           Case No. 1:17-MD-2804

All Cases                                           Judge Dan Aaron Polster




       NOTICE OF FIFTH AMENDED BANKRUPTCY COURT ORDER
REGARDING INJUNCTION AGAINST CONTINUATION OF THESE PROCEEDINGS
      AS TO RELATED PARTIES TO DEBTOR PURDUE PHARMA L.P.
                     AND AFFILIATED DEBTORS

       On January 2, 2020, the United States Bankruptcy Court for the Southern District of New

York issued an order regarding the preliminary injunction (the “Injunction”) that was attached

to the undersigned Related Party Defendants’ Notice of Bankruptcy Court Order Enjoining the

Continuation of these Proceedings as to Related Parties to Debtor Purdue Pharma L.P., filed

October 18, 2019 in this multi-district action (Doc. # 2847). See Fifth Amended Order Pursuant

to 11 U.S.C. § 105(a) Granting Motion for a Preliminary Injunction, In re Purdue Pharma L.P.,

et al., No. 19-23649 (RDD), Adv. Pro. No. 19-08289 (RDD), Doc. # 132 (Bankr. S.D.N.Y. Jan.

2, 2020) (the “Fifth Amended Preliminary Injunction Order”), a copy of which is attached as

Exhibit 1 hereto.

       The Injunction remains in place through and including April 8, 2020. See id. at

6. Numerous plaintiffs currently in this multi-district proceeding have also agreed to abide by

the terms of the Injunction without the need to have any order entered against them. See id. at 5

¶(g). Those plaintiffs are identified in the Verified Statement of the Multi-State Governmental
  Case: 1:17-md-02804-DAP Doc #: 3085 Filed: 01/17/20 2 of 3. PageID #: 480919




Entities Group Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure, filed in In

re Purdue Pharma L.P., No. 19-23649 (RDD), Doc. # 409, Ex. A (Bankr. S.D.N.Y. Oct. 30,

2019). Those plaintiffs are permitted to withdraw their consent on December 19, 2019 and

February 21, 2020 by following the procedures listed on page 6 of the Injunction.

        Notwithstanding the filing of this notice, the undersigned Related Party Defendants

expressly preserve all of their defenses, including, but not limited to, the lack of personal

jurisdiction.

                                            Respectfully submitted,

                                            /s/ Stuart G. Parsell
                                            Stuart G. Parsell (Ohio Bar No. 0063510)
                                            Ariel A. Brough (Ohio Bar No. 0090712)
                                            ZEIGER, TIGGES & LITTLE LLP
                                            41 South High Street, Suite 3500
                                            Columbus, Ohio 43215
                                            Tel: (614) 365-9900
                                            Fax: (614) 365-7900
                                            parsell@litohio.com
                                            brough@litohio.com

                                            Attorneys for Defendants Richard Sackler, Jonathan
                                            Sackler, Mortimer D.A. Sackler, Kathe Sackler,
                                            Ilene Sackler Lefcourt, Theresa Sackler, David
                                            Sackler, The Estate of Raymond Sackler, Rosebay
                                            Medical Company L.P., Rosebay Medical
                                            Company, Inc., Beacon Company, and Richard
                                            Sackler and Jonathan Sackler as alleged Trustees of
                                            the alleged Trust for the Benefit of Members of the
                                            Raymond Sackler Family, and Former Attorneys to
                                            Beverly Sackler




                                               2
  Case: 1:17-md-02804-DAP Doc #: 3085 Filed: 01/17/20 3 of 3. PageID #: 480920




                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 17th day of January, 2020, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to

all counsel of record by operation of the Court’s electronic filing system.



                                                      /s/ Stuart G. Parsell
                                                      Stuart G. Parsell (0063510)


844999




                                                 3
